Case 1:13-cr-00653-SOM   Document 658   Filed 07/01/20   Page 1 of 18 PageID.4606



                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 13-00653 SOM (11)
                               )
           Plaintiff,          )           ORDER GRANTING DEFENDANT’S
                               )           MOTION FOR COMPASSIONATE
                               )           RELEASE
                               )
      vs.                      )
                               )
 DONALD SEALS,                 )
                               )
           Defendant.          )
                               )
 _____________________________ )

      ORDER GRANTING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

 I.          INTRODUCTION.

             In 2014, Defendant Donald Seals was sentenced to 120

 months in prison after pleading guilty to having conspired to

 possess 50 grams or more of methamphetamine with intent to

 distribute, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),

 and 846.    Seals is incarcerated at a satellite camp at USP Lompoc

 in California and has served a little more than 4 years and 9

 months of his 120-month sentence.        He has a projected release

 date of March 29, 2024.      He now moves for compassionate release

 under 18 U.S.C. § 3582(c)(1)(A).

             Seals’s request is based on medical conditions making

 him susceptible to severe complications from the COVID-19 virus.

 He is 55 years old and has Type 2 diabetes, hypertension, asthma,

 and kidney disease.      His BMI also indicates that he is obese.

 This court finds that extraordinary and compelling circumstances
Case 1:13-cr-00653-SOM     Document 658       Filed 07/01/20   Page 2 of 18 PageID.4607



 justify reducing Seals’s sentence of incarceration to time served

 plus 15 days.    At the conclusion of 15 days from the date of this

 order, the Bureau of Prisons is to release Seals to serve his

 term of supervised release.

 II.        BACKGROUND.

            Seals entered a plea of guilty to Count I of the

 Superseding Indictment (conspiracy to possess 50 grams or more of

 methamphetamine with intent to distribute, in violation of 21

 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846).                  See ECF No. 308

 (Minutes of Guilty Plea before Magistrate Judge); 311 (Memorandum

 of Plea Agreement).       Pursuant to a Report and Recommendation of

 the Magistrate Judge, this judge accepted the guilty plea.                     See

 ECF No. 324.    In the Memorandum of Plea Agreement, Seals admitted

 that he had transported 2,200 grams of methamphetamine HC1 with a

 purity of 98.2%.        See ECF No. 311, PageID # 1034-35.             Seals’s

 conduct was part of a larger drug conspiracy.                  This court

 determined that Seals, having acted as a courier rather than as

 someone who controlled the drug conspiracy, was less culpable

 than his codefendants.        Seals’s conduct as a drug courier did not

 involve violence.       His criminal history put him in Category III

 based on nonviolent offenses in 1999 and 2004.                  According to

 Seals’s Presentence Investigation Report, Seals had 12 other

 convictions, only one of which (dating from 1986) appears to have




                                          2
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20    Page 3 of 18 PageID.4608



 involved hitting someone.      See Presentence Investigation Report,

 ECF No. 408.

            This court sentenced Seals to a mandatory minimum term

 of 120 months in prison, 5 years of supervised release, and a

 special assessment of $100.      See Judgment in a Criminal Case, ECF

 No. 404.   Seals has served less than half of that 120 months.

 Now 55, Seals is at one of the satellite camps at USP Lompoc in

 California.    See ECF No. 645-5, PageID #s 4233 (Request for

 Administrative Remedy mentions his “unit” as “D-North Camp”) and

 4234 (indicating he is “at Lompoc FPC (Camp)”; ECF No. 645-4,

 PageID # 4230 (including Seals’s description of his living

 quarters as “barrack style” with shared toilets and showers).

 Seals’s anticipated release date is March 29, 2024.                  See

 https://www.bop.gov/mobile/find_inmate/index.jsp (last visited

 July 1, 2020) (input inmate number 15158-022); ECF No. 653-2.

            USP Lompoc has 1,538 inmates, with 1,087 at the USP,

 143 at “Camp N,” and 308 at another camp.              See

 https://www.bop.gov/locations/institutions/lom/ (last visited

 July 1, 2020).    As of the morning of July 1, 2020, USP Lompoc has

 7 inmates and no staff members with active COVID-19, 165 inmates

 and 24 staff members who have recovered from COVID-19, and two

 inmates who have died from COVID-19.             See

 https://www.bop.gov/coronavirus/ (last visited July 1, 2020).

 While the record does not indicate how many COVID-19 cases are


                                        3
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20   Page 4 of 18 PageID.4609



 specifically at “Camp N,” where Seals appears to be incarcerated,

 the record does show that social distancing is difficult at that

 camp.   See ECF No. 645-4, PageID # 4230 (“All living quarters are

 barrack style living, shared toilets and showers.                My living

 space is a bunk bed with a[n] inmate sleeping 2ft above me, and 2

 other inmates 4ft in front of me, behind me and on the sides of

 me.   Social distancing is non-exist[e]nt at this facility.”).

 According to Seals, cleaning and hygiene supplies are in short

 supply at the facility.      Id.

            Seals’s motion states that he has “hypertension,

 asthma, diabetes, and kidney disease.”             See ECF No. 645.       His

 sealed medical records confirm those conditions, although for

 some of the conditions the records do not establish the severity

 of the conditions.      See ECF No. 648, 652.          According to the

 Presentence Investigation Report, Seals is 6 feet five and

 weighed 295 pounds.     See ECF No. 408, PageID # 1728.              In April of

 this year he weighed 292 pounds.            See ECF No. 652, PageID # 4434.

 This gives Seals a BMI of 34.6.            See

 https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english

 _bmi_calculator/bmi_calculator.html (last visited June 30, 2020).

            Seals’s motion states that he is “a Care Level 1 inmate

 with a chronic medical condition.”            See ECF No. 645, PageID

 # 4213.   His Reply, on the other hand, says the “records

 demonstrate that Mr. Seals is a Care Level 2 for medical


                                        4
Case 1:13-cr-00653-SOM    Document 658       Filed 07/01/20    Page 5 of 18 PageID.4610



 purposes, and a Care Level 1 for mental health purposes.”                    See

 ECF No. 654, PageID # 4579 n.2.         The BOP classifies “Care

 Level 1” inmates as those who “are less than 70 years of age and

 are generally healthy,” but “may have limited medical needs that

 can be easily managed by clinician evaluations every 6-12

 months.”   See ECF No. 649-2, PageID # 4410.                 The BOP classifies

 “Care Level 2” inmates as those who “are stable outpatients who

 require clinical evaluations monthly to every 6 months” and whose

 “conditions can be managed through routine, regular scheduled

 appointments” with consultations by medical specialists from time

 to time.   See id.      Whether Seals is a “Care Level 1” or “Care

 Level 2” inmate is not important for purposes of the present

 motion.

            Seals says that, if released, he will live with his

 wife and son at their home in Oakland, California.                  He says the

 local hospitals are familiar with his medical conditions, as they

 treated him before he was incarcerated.               Seals says he is skilled

 in carpentry and construction, implying that he can get a job in

 those fields.    See ECF No. 645, PageID #s 4214-15; ECF 645-5,

 PageID # 4235.    Seals’s wife says their relationship is intact,

 that she can support Seals, and that she is willing to abide by

 any conditions the court imposes if Seals is released.                   See ECF

 No. 657.




                                         5
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20   Page 6 of 18 PageID.4611



 II.        ANALYSIS.

            Seals’s compassionate release request is governed by 18

 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements.                United States v.

 Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).



                                        6
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20   Page 7 of 18 PageID.4612



            A.    Seals Has Satisfied the Exhaustion Requirement of
                  18 U.S.C. § 3582(c)(1)(A).

            Seals says he submitted an administrative compassionate

 release request to the warden of his prison on May 9, 2020, more

 than 30 days before filing this motion on June 12, 2020.                  See ECF

 No. 645, PageID #s 4212-13.      While the Government notes that

 Seals did not provide this court with proof that he sent the

 request to the Warden on the day Seals says it was sent, the

 Government is not contesting Seals’s satisfaction of the

 exhaustion requirement, citing instead authority for the

 proposition that many courts have decided compassionate relief

 motions when the 30-day period expired while a motion was

 pending.   See ECF No. 649, PageID #s 4388-89.               This court

 concludes that Seals has satisfied the exhaustion requirement of

 18 U.S.C. § 3582(c)(1)(A).

            In his Reply, Seals states that he has been informed

 that his Warden is recommending his release to the Office of

 General Counsel in Washington, D.C.            See ECF No. 654, PageID

 # 4578.    This court nevertheless proceeds with the present motion

 because the Government has not withdrawn its opposition to

 Seals’s motion, there has been no assurance from the Government

 that Seals will actually be released without a court ruling, and,

 even if Seals’s release is approved by the Office of General

 Counsel, it is unclear when that will occur.



                                        7
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20   Page 8 of 18 PageID.4613



            B.    Seals Has Demonstrated That Extraordinary and
                  Compelling Circumstances Justify His Early
                  Release.

            This court turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

 a sentence reduction.      In orders addressing compassionate release

 motions in other cases, this court has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

 This court has stated that it reads § 3582(c)(1)(A) as allowing

 this court considerable discretion, notwithstanding the absence

 of an amended policy statement from the Sentencing Commission

 reflecting the discretion now given to courts under that statute.

 See United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June

 10, 2020); United States v. Cisneros, 2020 WL 3065103, at *2 (D.

 Haw. Jun. 9, 2020); United States v. Kamaka, 2020 WL 2820139, at

 *3 (D. Haw. May 29, 2020).

            The CDC currently lists the following conditions as

 creating an increased risk of a severe illness from COVID-19:

            *Chronic kidney disease

            *COPD (chronic obstructive pulmonary disease)

            *Immunocompromised state (weakened immune system) from
            solid organ transplant

            *Obesity (body mass index [BMI] of 30 or higher)

            *Serious heart conditions, such as heart failure,

                                        8
Case 1:13-cr-00653-SOM   Document 658       Filed 07/01/20   Page 9 of 18 PageID.4614



            coronary artery disease, or cardiomyopathies

            *Sickle cell disease

            *Type 2 diabetes mellitus

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html (last visited July 1, 2020).

            The CDC also lists the following as possibly increasing

 the risk of a severe illness from COVID-19:

            *Asthma (moderate-to-severe)

            *Cerebrovascular disease (affects blood vessels and
            blood supply to the brain)

            *Cystic fibrosis

            *Hypertension or high blood pressure

            *Immunocompromised state (weakened immune system) from
            blood or bone marrow transplant, immune deficiencies,
            HIV, use of corticosteroids, or use of other immune
            weakening medicines

            *Neurologic conditions, such as dementia

            *Liver disease

            *Pregnancy

            *Pulmonary fibrosis (having damaged or scarred lung
            tissues)

            *Smoking

            *Thalassemia (a type of blood disorder)

            *Type 1 diabetes mellitus

 Id.

                                        9
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 10 of 18 PageID.4615



             Under the CDC’s guidance, Seals’s asthma, by itself, is

 insufficient to put him at a potentially higher risk of severe

 complications from COVID-19, as the medical records are not clear

 as to whether his asthma is moderate to severe.             Seals’s asthma

 is classified as “unspecified.”         See ECF Nos. 652, PageID # 4435;

 and 654, PageID #s 4582-83.

             However, the CDC indicates that Seals’s hypertension

 combined with his Type 2 diabetes mellitus, chronic kidney

 disease, and obesity put him at higher risk of severe

 complications from COVID-19.       See https://www.cdc.gov/

 coronavirus/2019-ncov/need-extra-precautions/

 groups-at-higher-risk.html (noting that “hypertension (high blood

 pressure) . . . may increase your risk of severe illness from

 COVID-19,” “type 2 diabetes increases your risk of severe illness

 from COVID-19,” “chronic kidney disease of any stage increases

 your risk for severe illness from COVID-19,” and “obesity,

 defined as a body mass index (BMI) of 30 or above, increases your

 risk of severe illness from COVID-19”) (last visited July 1,

 2020).

             The Government argues that Seals’s medical conditions

 are not severe enough to warrant compassionate release, as Seals

 is classified as a “Care Level 1” or “Care Level 2” inmate,

 meaning that his conditions are controllable.             The Government

 therefore argues that Seals is not at a higher risk of severe


                                        10
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 11 of 18 PageID.4616



 complications from COVID-19.       The court rejects this argument.

 With respect to Type 2 diabetes, the CDC does not require the

 disease to be severe to create a higher risk of severe

 complications from COVID-19.       See id.      In another case before

 this court, United States v. Kim, Cr. No. 13-00303 SOM, ECF No.

 71, PageID # 375, the Government conceded that diabetes, by

 itself, is a “serious medical condition[] which qualifies as [an]

 ‘extraordinary and compelling reason[]’ for reduction within the

 meaning of § 3582(c)(1)(A),” although the Government argued that

 the condition still did not warrant release.

             Similarly, the CDC does not require chronic kidney

 disease or obesity to be severe to create a higher risk of severe

 complications of COVID-19.       Id.

             While Seals’s hypertension, Type 2 diabetes, chronic

 kidney disease, and obesity put him at higher risk of severe

 complications from COVID-19, this court must still consider the

 factors set forth in section 3553(a) before reducing his

 sentence.    That section requires the court to impose a “sentence

 sufficient, but not greater than necessary, to comply with the

 purposes set forth in paragraph (2),” which provides:

             (1) the nature and circumstances of the
             offense and the history and characteristics
             of the defendant;

             (2) the need for the sentence imposed--
                  (A) to reflect the seriousness of the
             offense, to promote respect for the law, and
             to provide just punishment for the offense;

                                        11
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 12 of 18 PageID.4617



                  (B) to afford adequate deterrence to
             criminal conduct;
                  (C) to protect the public from further
             crimes of the defendant; and
                  (D) to provide the defendant with needed
             educational or vocational training, medical
             care, or other correctional treatment in the
             most effective manner;

             (3) the kinds of sentences available;

             (4) the kinds of sentence and the sentencing
             range established for--
                  (A) the applicable category of offense
             committed by the applicable category of
             defendant as set forth in the guidelines--
             (i) issued by the Sentencing Commission
             pursuant to section 994(a)(1) of title 28,
             United States Code, subject to any amendments
             made to such guidelines by act of Congress
             (regardless of whether such amendments have
             yet to be incorporated by the Sentencing
             Commission into amendments issued under
             section 994(p) of title 28); and
             (ii) that, except as provided in section
             3742(g), are in effect on the date the
             defendant is sentenced; or
                  (B) in the case of a violation of
             probation or supervised release, the
             applicable guidelines or policy statements
             issued by the Sentencing Commission pursuant
             to section 994(a)(3) of title 28, United
             States Code, taking into account any
             amendments made to such guidelines or policy
             statements by act of Congress (regardless of
             whether such amendments have yet to be
             incorporated by the Sentencing Commission
             into amendments issued under section 994(p)
             of title 28);

             (5) any pertinent policy statement--
                  (A) issued by the Sentencing Commission
             pursuant to section 994(a)(2) of title 28,
             United States Code, subject to any amendments
             made to such policy statement by act of
             Congress (regardless of whether such
             amendments have yet to be incorporated by the
             Sentencing Commission into amendments issued

                                        12
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 13 of 18 PageID.4618



             under section 994(p) of title 28); and
                  (B) that, except as provided in section
             3742(g), is in effect on the date the
             defendant is sentenced.

             (6) the need to avoid unwarranted sentence
             disparities among defendants with similar
             records who have been found guilty of similar
             conduct; and

             (7) the need to provide restitution to any
             victims of the offense.

 18 U.S.C.A. § 3553(a).

             The record indicates that Seals is a nonviolent drug

 offender who has served a substantial prison sentence (although

 it is less than half of his 120-month sentence).              Seals played a

 small role as a courier in a large drug conspiracy and was

 sentenced to a statutory minimum sentence of 120 months in

 prison.    While Seals had multiple previous convictions, those

 convictions are from years ago; the most recent conviction before

 the current methamphetamine conviction was for a nonviolent

 misdemeanor in 2004.

             One conviction from 1986 appears to have involved

 Seals’s hitting someone.       See ECF No. 408, PageID # 1721-22.

 However, there is no evidence in the record that since that

 conviction 34 years ago Seals has displayed violence.               Seals says

 that, while incarcerated, he has not received any disciplinary

 sanctions and has taken advantage of opportunities to

 rehabilitate himself.      See ECF No. 645-2.        Given the totality of

 these circumstances, this court concludes that Seals has paid a

                                        13
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 14 of 18 PageID.4619



 substantial debt to society and that he no longer poses a danger

 to the community if released from prison.

             If released, Seals plans to live with his wife in their

 home in Oakland, California.       He expects to be treated at local

 hospitals that are familiar with him.           Seals says he can get a

 job in carpentry and construction.          See ECF No. 645, PageID #s

 4214-15.    While the Government notes on pages 20 to 21 of its

 Opposition that living with his wife might prove difficult as

 they have not lived together for a while, and that getting a job

 might also be difficult, those speculative difficulties do not

 mean that Seals’s release plan is unmeritorious.              To hold

 otherwise would mean that all release plans are unmeritorious, as

 they all involve a degree of speculation about future conduct.

 Moreover, Seals’s wife has indicated that their relationship is

 intact and that she will support him if he is released.                 See ECF

 No. 657.

             USP Lompoc has 1,538 inmates, with 1,087 at the USP,

 143 at “Camp N,” and 308 at another camp.            See

 https://www.bop.gov/locations/institutions/lom/ (last visited

 July 1, 2020).     As of the morning of July 1, 2020, USP Lompoc has

 7 inmates and no staff members with active COVID-19.              See

 https://www.bop.gov/coronavirus/ (last visited July 1, 2020).

             With USP Lompoc’s number of active cases of COVID-19

 having dropped (nearly 200 inmates and staff members have


                                        14
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 15 of 18 PageID.4620



 recovered from COVID-19), the Government contends that the

 facility’s COVID-19 procedures are working and that the situation

 at USP Lompoc is under control.         However, it is not clear from

 the record that the drop in instances of inmates with COVID-19

 results from BOP efforts to prevent the spread of it.               Possibly,

 there has been insufficient testing, or individuals have sought

 to hide their condition to avoid quarantine.             More importantly,

 the record does not reflect what efforts the BOP is taking to

 prevent Seals from being exposed to COVID-19 at his camp

 specifically.

             The record of active cases at USP Lompoc is a composite

 that includes the camps.       The statistics do not separate out the

 members for each camp from the total at USP Lompoc.              This raises

 the possibility that all of the active cases are at the camp in

 which Seals is incarcerated.       As this court noted in United

 States v. Kamaka, 2020 WL 2820139, at *1 (D. Haw, May 29, 2020),

 the dormitory setting at the camps at USP Lompoc “invites the

 further spread of the coronavirus.”          While the defendant in that

 case appears to have been at a different USP Lompoc camp from

 Seals, the communal dormitory setting in both camps, with shared

 toilets and showers, means that, when “an inmate is infected but

 has not been identified as such and isolated, other inmates

 almost certainly will come into contact with him.”              Id. at *4.

 Given the active cases of COVID-19 at USP Lompoc and the lack of


                                        15
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 16 of 18 PageID.4621



 information about Seals’s specific camp, this court remains

 concerned that Seals’s incarceration at USP Lompoc puts his

 health in jeopardy, given his medical conditions.

             Having balanced the seriousness of Seals’s crimes, the

 amount of time remaining on his sentence, any danger he may pose

 to the community if released, his behavior while incarcerated,

 his medical conditions, and the circumstances at the facility he

 is at, this court determines that Seals has shown extraordinary

 and compelling reasons for early release.

 III.        CONCLUSION.

             Seals’s request for compassionate release under 18

 U.S.C. § 3582(c)(1)(A) is granted.

             Seals’s sentence is reduced to time served plus 15

 days.    Following the 15 days, Seals shall be released to begin

 his term of supervised release.         The 15-day period is intended to

 allow his family to make arrangements to transport him home from

 USP Lompoc and to remove guns and alcohol from the residence.

 During the 15-day period, the court recommends that the facility

 quarantine Seals to reduce the possibility that he might be

 infected and transmit the virus once released.             The court further

 recommends that the quarantine not be in a communal setting; if

 possible, Seals should be moved to an individual cell during his

 last 15 days in custody.

             Seals must go directly home to his residence in Oakland


                                        16
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20    Page 17 of 18 PageID.4622



 California from USP Lompoc.       That is, Seals must travel from USP

 Lompoc to his home without stops and without leaving the vehicle.

             Seals shall abide by all of the standard, mandatory,

 and special conditions of supervised release previously imposed,

 including the ban on firearms and alcohol.               In addition, Seals

 must abide by the following additional special condition:

                  5. You will be monitored by a location
             monitoring technology as directed by the
             United States Probation Office for a period
             of 180 days, and you must follow the rules
             and regulations of the location monitoring
             program, pursuant to the Participant’s
             Agreement. You are restricted to your
             residence at all times except for employment;
             education; religious services; medical,
             substance abuse, or mental health treatment;
             attorney visits; court appearances;
             court-ordered obligations; or other
             activities as pre-approved by the officer.
             You must pay the costs of the program, as
             directed by the probation officer.

             Seals is ordered to report by telephone (808-284-8022)

 to Timothy Jenkins of the United States Probation Office,

 District of Hawaii, immediately upon his release from BOP

 custody.    Mr. Jenkins’s office will be contacting the Oakland

 division of the United States Probation Office, Northern District

 of California, concerning supervision of Mr. Seals.




                                        17
Case 1:13-cr-00653-SOM   Document 658    Filed 07/01/20   Page 18 of 18 PageID.4623



             It is so ordered.

             DATED: Honolulu, Hawaii, July 1, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge




 United States v. Seals, Cr. No. 13-653 SOM (11); ORDER GRANTING DEFENDANT’S
 MOTION FOR COMPASSIONATE RELEASE




                                        18
